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                                                               United States Bankruptcy Court
                                                                     Southern District of Florida
 In re      Ace's Indoor Shooting Range & Pro Gun Shop, Inc.                                            Case No.
                                                                                 Debtor(s)              Chapter    11




                                           CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for Ace's Indoor Shooting Range & Pro Gun Shop, Inc. in the above captioned action,
certifies that the following is a (are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly
own(s) 10% or more of any class of the corporation's(s') equity interests, or states that there are no entities to report under
FRBP 7007.1:



    None [Check if applicable]




 April 25, 2016                                                      /s/ Jacqueline Calderin, Esq.
 Date                                                                Jacqueline Calderin, Esq. 134414
                                                                     Signature of Attorney or Litigant
                                                                     Counsel for Ace's Indoor Shooting Range & Pro Gun Shop, Inc.
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